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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             ROANOKE DIVISION

JUSTIN KENT HAWKS,                            )
                                              )
       Plaintiff,                             )       Civil Action No. 7:21cv00531
                                              )
v.                                            )       MEMORANDUM OPINION
                                              )
SARAH THOMPSON, et al. ,                      )       By:     Hon. Thomas T. Cullen
                                              )               United States District Judge
       Defendants.                            )


       Plaintiff Justin Kent Hawks, proceeding pro se, filed this civil action under 42 U.S.C.

§ 1983. By conditional filing order entered October 14, 2021, the court advised Hawks that he

must notify the court in writing immediately upon his transfer or release and must provide the

court with his new address. (See ECF No. 3.) On November 30, 2021, an order mailed to

Hawks was returned to the court as undeliverable and with no forwarding address. (See ECF

No. 6.) Hawks has not provided the court with an updated address. Accordingly, the court

will dismiss this action without prejudice for failure to comply with the court’s order. The

court notes that this dismissal is without prejudice to Hawks’s opportunity to refile his claims

in a separate civil action, subject to the applicable statute of limitations.

       The clerk is directed to send copies of this Memorandum Opinion and the

accompanying Order to Hawks at his last known address.

       ENTERED this 2nd day of December, 2021.


                                                      /s/ Thomas T. Cullen_________________
                                                      HON. THOMAS T. CULLEN
                                                      UNITED STATES DISTRICT JUDGE
